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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF NEW YORK


  JOHN DOE #1, JOHN DOE #2, JOHN DOE #3, JOHN
  DOE #4, JOHN DOE #5, JOHN DOE #6, JOHN DOE #7,
  JOHN DOE #8 and JOHN DOE #9,

                                    Plaintiffs,
  v.
                                                                       Civil Action No.:
  SYRACUSE UNIVERSITY, KENT SYVERUD,                                5:18-CV-496 (FJS/DEP)
  individually and as Chancellor of Syracuse University,
  ROBERT HRADSKY, individually and as Syracuse
  University Dean of Students and Associate Vice President
  of the Student Experience, TERESA ABI-NADER
  DAHLBERG, individually and as the Dean of the College
  of Engineering and Computer Science,

                                      Defendants.

                                  NOTICE OF MOTION

MOTION MADE BY:                               Defendants Syracuse University, Kent Syverud,
                                              Robert Hradsky, and Teresa Abi-Nader
                                              Dahlberg.

DATE, TIME AND PLACE OF HEARING: On submit, or no later than Friday October 10,
                                 2018, before the Hon. David E. Peebles., at the
                                 United States District Courthouse in Syracuse,
                                 New York.

RELIEF REQUESTED:                             An Order Striking Plaintiffs’ Third Amended
                                              Complaint, at Dkt. No. 60.

GROUNDS FOR RELIEF:                           Fed. R. Civ. P. 15(a)(2); N.D.N.Y. Local Rule
                                              7.1(a)(4); and the Court’s common law inherent
                                              authority to control its own docket.

SUPPORTING PAPERS:                            (1) Brief in support of Motion to Strike, dated
                                                  September 6, 2018; and
                                              (2) Declaration of John G. Powers, Esq. dated
                                                  September 6, 2018.

OPPOSITION PAPERS:                            To be served and filed according to Local Rule
                                              7.1.


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        Dated: September 6, 2018                    Respectfully submitted,


                                                 s/John G. Powers
                                           By __________________________

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                                   Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on September 6, 2018, I caused the foregoing to be electronically
filed with the Clerk of the District Court of the Northern District of New York using the
CM/ECF system, which sent notification of such filing to the following counsel of record:

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                                                     s/John G. Powers
                                                      John G. Powers




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